       Case 4:18-cr-00011-MFU-RSB Document 1191 Filed 02/06/20 Page 1 of 6 Pageid#: 10559
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       SHANICQUA LATRICE COLEMAN                                                 &DVH1XPEHU

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                                                                                Michael F. Urbanski                    DN: cn=Michael F. Urbanski, o=Western District of Virginia, ou=United States
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                                                                                 Michael F. Urbanski, Chief United States District Judge
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                                                                                    February 5, 2020
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     Case 4:18-cr-00011-MFU-RSB Document 1191 Filed 02/06/20 Page 2 of 6 Pageid#: 10560
AO 245B   (Rev. /1- VAW Additions /1) Judgment in a Criminal Case
          Sheet 4—Probation

                                                                                                         Judgment-Page     2    of         6
DEFENDANT: SHANICQUA LATRICE COLEMAN
CASE NUMBER: DVAW418CR000011-009
                                                                    PROBATION
You are hereby sentenced to probation for a term of :
 one year.




                                                      MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
              The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
              substance abuse. (check if applicable)
4.           You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5.           You must comply with the requirements of the Sex Offender Registration and Notification Act (4 U.S.C. § 901, et seq.)
             as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you reside,
             work, are a student, or were convicted of a qualifying offense. (check if applicable)
6.       You must participate in an approved program for domestic violence. (check if applicable)
7.       You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if applicable)
8. You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
9. If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
10. You must notify the court of any material change in your economic circumstances that might affect your ability to pay restitution,
    fines, or special assessments.


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
       Case 4:18-cr-00011-MFU-RSB Document 1191 Filed 02/06/20 Page 3 of 6 Pageid#: 10561
AO 245B    (Rev. /1 - VAW Additions /1) Judgment in a Criminal Case
            Sheet 4A—Probation
                                                                                                         Judgment-Page      3     of        6
 DEFENDANT: SHANICQUA LATRICE COLEMAN
 CASE NUMBER: DVAW418CR000011-009
                                        STANDARD CONDITIONS OF SUPERVISION

As part of your probation, you must comply with the following standard conditions of supervision. These conditions are imposed because
they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers
to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of the time
      you were sentenced, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.




U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                    Date
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           4:18-cr-00011-MFU-RSB                    Document 1191 Filed 02/06/20 Page 4 of 6 Pageid#: 10562
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                                       SPECIAL CONDITIONS OF SUPERVISION
1. The defendant shall pay any special assessment, fine, and/or restitution that is imposed by this judgment.

2. The defendant shall continue her mental health treatment, and sign all necessary releases of information, until such time as the defendant
has satisfied all requirements of the program.

3. The defendant shall reside in a residence free of firearms, ammunition, destructive devices, and dangerous weapons.

4. The defendant shall submit his or her person, property, house, residence, vehicle, papers, or office, to a search conducted by a United
States probation officer. Failure to submit to a search may be grounds for revocation of release. The defendant shall warn any other
occupants that the premises may be subject to searches pursuant to this condition. An officer may conduct a search pursuant to this condition
only when reasonable suspicion exists that the defendant has violated a condition of his or her supervision and that the areas to be searched
contain evidence of this violation.
AO 245BCase
         (Rev.4:18-cr-00011-MFU-RSB
               /1 - VAW Additions /1) Judgment inDocument
                                                        a Criminal Case1191      Filed 02/06/20 Page 5 of 6 Pageid#: 10563
         Sheet 5 - Criminal Monetary Penalties

                                                                                                           Judgment-Page    5      of       6
 DEFENDANT: SHANICQUA LATRICE COLEMAN
 CASE NUMBER: DVAW418CR000011-009
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

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 TOTALS $ 100.00                        $                              $                        $                          $


     The determination of restitution is deferred until               . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
      in the priority order or percentage payment column below. However, pursuant to 18 U.S.C § 3664(i), all nonfederal victims must be
      paid before the United States is paid.
 Name of Payee                                            Total Loss**                        Restitution Ordered          Priority or Percentage




 TOTALS


      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
           the interest requirement is waived for the          fine            restitution.
           the interest requirement for the           fine        restitution is modified as follows:


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  * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
  on or after September 13, 1994, but before April 23, 1996.
AO 245BCase
          (Rev.4:18-cr-00011-MFU-RSB
                /1 - VAW Additions /) Judgment inDocument
                                                        a Criminal Case   1191 Filed 02/06/20 Page 6 of 6 Pageid#: 10564
          Sheet 6 - Schedule of Payments

DEFENDANT:            SHANICQUA LATRICE COLEMAN                                                                      Judgment - Page   6   of    6
CASE NUMBER: DVAW418CR000011-009

                                                     SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, the total criminal monetary penalties are due immediately and payable as follows:

A          Lump sum payment of $ 100.00                     immediately, balance payable
                    not later than                                 , or
                    in accordance ZLWK         C,          D,        E,         F or,        G below); or
B          Payment to begin immediately (may be combined with               C,           D,       F, or      G below); or

C          Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or
D         Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or
E         Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
F         During the term of imprisonment, payment in equal                          (e.g., weekly, monthly, quarterly) installments of
          $                   , or           % of the defendant's income, whichever is greater       , to commence                   (e.g., 30 or
          60 days) after the date of this judgment; AND payment in equal                            (e.g., weekly, monthly, quarterly)
          installments of $                     during the term of supervised release, to commence                          (e.g., 30 or 60 days)
          after release from imprisonment.
G         Special instructions regarding the payment of criminal monetary penalties:



Any installment schedule shall not preclude enforcement of the restitution or fine order by the United States under 18 U.S.C §§ 3613 and
3664(m).
Any installment schedule is subject to adjustment by the court at any time during the period of imprisonment or supervision, and the defendant
shall notify the probation officer and the U.S. Attorney of any change in the defendant's economic circumstances that may affect the
defendant's ability to pay.
All criminal monetary penalties shall be made payable to the Clerk, U.S. District Court, )UDQNOLQ5G6XLWH, Roanoke, Virginia 240,
IRUdisbursement.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
Any obligation to pay restitution is joint and several with other defendants, if any, against whom an order of restitution has been or will be
entered.
        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
        corresponding payee, if appropriate.




        The defendant shall pay the cost of prosecution.
        The defendant shall pay the following court cost(s):
        The defendant shall forfeit the defendant's interest in the following property to the United States:




    Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) $9$$DVVHVVPHQW
      fine principal, ()fine interest, () community restitution,  -97$DVVHVVPHQW() penalties, and () costs, including cost of
    prosecution and court costs.
